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In the United States Court of Federal Claims
                          OFFICE OF SPECIAL MASTERS

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ZACHARY CHILDREE and                     *
MEGAN AKERS on behalf of B.C., *
a minor child,                           *
                                         *   No. 17-848V
                    Petitioners,         *   Special Master Christian J. Moran
                                         *
v.                                       *   Filed: September 30, 2019
                                         *
SECRETARY OF HEALTH                      *   Attorneys’ Fees and Costs
AND HUMAN SERVICES,                      *
                                         *
                    Respondent.          *
* * * * * * * * * * * * * * * * * * * ** *

Diana L. Stadelnikas, Maglio Christopher and Toale, PA, Sarasota, FL, for
Petitioners;
Jeffrey T. Sprague, United States Dep’t of Justice, Washington, DC, for
Respondent.

                   UNPUBLISHED DECISION AWARDING
                     ATTORNEYS’ FEES AND COSTS1


      1
         The undersigned intends to post this Ruling on the United States Court of
Federal Claims' website. This means the ruling will be available to anyone with
access to the internet. In accordance with Vaccine Rule 18(b), petitioner has 14
days to identify and move to redact medical or other information, the disclosure of
which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the
undersigned will redact such material from public access. Because this unpublished
ruling contains a reasoned explanation for the action in this case, the undersigned
is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)
(Federal Management and Promotion of Electronic Government Services).
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       On June 12, 2019, petitioners Zachary Childree and Megan Akers moved for
final attorneys’ fees and costs. They are awarded $31,692.58.

                                   *     *       *

       On June 22, 2017, petitioners, on behalf of their minor child B.C., filed for
compensation under the Nation Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10 through 34. The petition alleged that various vaccinations that B.C.
received on July 21, 2016, caused B.C. to suffer from seizures. See Petition, filed
June 22, 2017, at 1-2. Thereafter, petitioners moved for a decision dismissing their
petition which the undersigned granted, dismissing the petition on March 25, 2019.
Decision, ECF No. 45.

       On June 12, 2019, petitioners filed a motion for final attorneys’ fees and
costs (“Fees App.”). Petitioner requests attorneys’ fees of $28,790.40 and
attorneys’ costs of $2,902.18 for a total request of $31,692.58. Fees App. at 1.
Pursuant to General Order No. 9, petitioners state that they have not personally
incurred any costs. Fees App. at 2. On June 25, 2019, respondent filed a response
to petitioner’s motion. Respondent argues that “[n]either the Vaccine Act nor
Vaccine Rule 13 contemplates any role for respondent in the resolution of a request
by a petitioner for an award of attorneys’ fees and costs.” Response at 1.
Respondent adds, however that he “is satisfied the statutory requirements for an
award of attorneys’ fees and costs are met in this case.” Id at 2. Additionally, he
recommends “that the Court exercise its discretion” when determining a reasonable
award for attorneys’ fees and costs. Id. at 3. Petitioners filed a reply on June 26,
2019, reiterating their belief that the requested amount of fees and costs is
reasonable. Reply at 3.

                                   *     *       *

       Although compensation was denied, petitioners who bring their petitions in
good faith and who have a reasonable basis for their petitions may be awarded
attorneys’ fees and costs. 42 U.S.C. § 300aa-15(e)(1). In this case, the undersigned
has no reason to doubt the good faith of the claim, and although the claim was
ultimately unsuccessful, the undersigned finds that petitioner’s claim has a
reasonable basis. Respondent also has not challenged the reasonable basis of the
claim. A final award of attorneys’ fees and costs is therefore proper in this case.

      The Vaccine Act permits an award of reasonable attorney’s fees and costs.
§15(e). The Federal Circuit has approved the lodestar approach to determine
reasonable attorneys’ fees and costs under the Vaccine Act. This is a two-step

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process. Avera v. Sec’y of Health & Human Servs., 515 F.3d 1343, 1348 (Fed.
Cir. 2008). First, a court determines an “initial estimate … by ‘multiplying the
number of hours reasonably expended on the litigation times a reasonable hourly
rate.’” Id. at 1347-48 (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)).
Second, the court may make an upward or downward departure from the initial
calculation of the fee award based on specific findings. Id. at 1348. Here, because
the lodestar process yields a reasonable result, no additional adjustments are
required. Instead, the analysis focuses on the elements of the lodestar formula, a
reasonable hourly rate and a reasonable number of hours.

       In light of the Secretary’s lack of objection, the undersigned has reviewed
the fee application for its reasonableness. See McIntosh v. Secʼy of Health &
Human Servs., 139 Fed. Cl. 238 (2018)

      A.     Reasonable Hourly Rates

       Under the Vaccine Act, special masters, in general, should use the forum
(District of Columbia) rate in the lodestar calculation. Avera, 515 F.3d at 1349.
There is, however, an exception (the so-called Davis County exception) to this
general rule when the bulk of the work is done outside the District of Columbia
and the attorneys’ rates are substantially lower. Id. 1349 (citing Davis Cty. Solid
Waste Mgmt. and Energy Recovery Special Serv. Dist. v. U.S. Envtl. Prot.
Agency, 169 F.3d 755, 758 (D.C. Cir. 1999)). In this case, all the attorneys’ work
was done outside of the District of Columbia.

        Petitioners request the following rates for the work of their counsel, Ms.
Stadelnikas: $359.00 per hour for work performed in 2016, $372.00 per hour for
work performed in 2017, $396.00 per hour for work performed in 2018, and
$415.00 per hour for work performed in 2019. Fees App. Ex. 1 at 17. Petitioners
also requests paralegal compensation at $135.00 - $154.00 per hour depending on
the paralegal and the year the work was performed in. Id. These rates are consistent
with what the undersigned and other special masters have previously awarded for
Ms. Stadelnikas’ work. See Sturdivant v. Sec’y of Health & Human Servs., No. 16-
1672V, 2019 WL 410600, at *2 (Fed. Cl. Spec. Mstr. Jan. 8, 2019). Accordingly,
the rates sought herein are reasonable.

      B.     Reasonable Number of Hours

      The second factor in the lodestar formula is a reasonable number of hours.
Reasonable hours are not excessive, redundant, or otherwise unnecessary. See
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993).

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The Secretary also did not directly challenge any of the requested hours as
unreasonable.

       Upon review of the submitted billing records, the undersigned finds the
billed hours to be reasonable. Accordingly, petitioners are entitled to the full
amount of attorney’s fees sought.

      C.      Costs Incurred

       Like attorneys’ fees, a request for reimbursement of costs must be
reasonable. Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed.
Cl. 1992), aff’d, 33 F.3d 1375 (Fed. Cir. 1994). Petitioners request a total of
$2,902.18 in attorneys’ costs, comprised of the Court’s filing fee, postage, and
$300.00 for review of medical records by Dr. John Gaitanis. Fees App. Ex. 2 at 1-
2. Petitioners have provided adequate documentation for these costs and the
undersigned finds them to be reasonable. Petitioners are therefore entitled to the
full amount of costs sought.

      D.      Conclusion

       The Vaccine Act permits an award of reasonable attorney’s fees and costs.
42 U.S.C. § 300aa-15(e). Accordingly, I award a total of $31,692.58 (representing
$28,790.40 in attorneys’ fees and $2,902.18 in attorneys’ costs) as a lump sum in
the form of a check jointly payable to petitioners and Maglio Christopher & Toale,
PA.

       In the absence of a motion for review filed pursuant to RCFC Appendix B,
the clerk of the court is directed to enter judgment herewith.2


              IT IS SO ORDERED.


                                                    s/Christian J. Moran
                                                    Christian J. Moran
                                                    Special Master



      2
        Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment
by filing a joint notice renouncing their right to seek review.

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